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                             UNITED STATES COURT OF INTERNATIONAL TRADE
                                         ONE FEDERAL PLAZA
                                       NEW YORK, NY 10278-0001


CHAMBERS OF
Claire R. Kelly
    Judge



                                                             March 12, 2018

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       Re:    Claude N. Lewis v. American Sugar Refining, Inc. and Mehandra Ramphal,
              Case No. 14-cv-02302

Dear Counsel:

        The court is in receipt of the parties’ motions in limine. See Defs.’ American Sugar
Refining, Inc. and Mehandra Ramphal’s Mots. In Limine, Feb. 12, 2018, ECF No. 115-1
(“Def.’s Mot. In Limine”); Pl. Claude Lewis’ Mem. Law Supp. Pl.’s Mot. In Limine, Feb. 12,
2018, ECF No. 117. Oral argument on the parties’ motions in limine is scheduled to take
place on Monday, March 19, 2018 at 10 a.m. at the United States Court of International
Trade, 1 Federal Plaza, New York, NY 10278. See Order, Mar. 6, 2018, ECF No. 124.
In preparation for oral argument on the motions in limine, the court requests that American
Sugar Refining, Inc. and Mehandra Ramphal (collectively, “Defendants”) submit to the
court the following:

       1. A complete list of exhibits that contain copies of grievances filed by Claude N.
          Lewis (“Plaintiff”) and his employer’s responses that Defendants seek to admit
          as substantive evidence to demonstrate that Defendants have, throughout
          Plaintiff’s employment, addressed and vetted the grievances he submitted;

       2. A complete list of exhibits that contain copies of grievances filed by Plaintiff that
          Defendants seek marked for impeachment purposes;

       3. A complete list of exhibits that contain copies of disciplinary notices issued to
          Plaintiff that Defendants seek to admit as substantive evidence to support
          Defendants’ affirmative defenses; and

       4. A legible copy of exhibit DX-64 and the production of the attachment referenced
          by the disciplinary notice.

        Further, in Defendants’ motion in limine, Defendants state that Plaintiff was issued
16 disciplinary notices. See Defs.’ Mot. In Limine at 7. However, the schedules of exhibits
provided by the parties in their proposed pretrial order include only 15 exhibits containing
copies of such notices. See Proposed Joint Pretrial Order at 20–36, Nov. 7, 2017, ECF
No. 94. The court’s review of the parties’ proposed pretrial order revealed that a
disciplinary notice issued on August 19, 1997, which is included in the parties’ stipulated
facts, see id. at 6–7, is not included in any of the schedules of exhibits. Accordingly, the
court asks the parties to clarify whether all 16 disciplinary notices have been reproduced
in the exhibits submitted to the court, and if yes, to create a complete list of those exhibits.

        The parties should include exhibits marked as joint exhibits in the above requested
lists, where necessary.

       The court also requests that Plaintiff:

       1. Provide a more legible copy of exhibit PX-7;
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      2. Clarify whether exhibits PX-22 and PX-5 reproduce the same grievance notice
         and, if yes, why both exhibits are necessary; and

      3. Clarify whether exhibits JX-6 and DX-5 reproduce the same disciplinary notice
         and, if yes, why Plaintiff has objected to DX-5 on grounds of relevance,
         foundation, and authentication.

       The parties shall file the above requested information on or before 3 p.m. on
Thursday, March 15, 2018. The parties may file the above requested information on ECF.
If you have any questions, please contact my case manager, Mr. Steve Taronji, at (212)
264-1611.

                                                  Sincerely,

                                               /s/ Claire R. Kelly
                                              Claire R. Kelly, Judge
